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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CHARLES RICE                                        :                 CIVIL ACTION
                                                    :
                 v.                                 :
                                                    :
TOM MCGINLEY, et al.                                :                 NO. 22-5105

                                REPORT AND RECOMMENDATION

CAROL SANDRA MOORE WELLS
UNITED STATES MAGISTRATE JUDGE                                                             October 23, 2023

        Presently before the court is a counseled Petition for a Writ of Habeas Corpus filed by

Charles Rice (“Petitioner”), pursuant to 28 U.S.C. § 2254. Petitioner is a state prisoner serving a

30-to-60-year term of incarceration, for conviction on four counts of attempted homicide and

related offenses, at the State Correctional Institution-Coal Township. Petitioner seeks habeas relief

based upon claims of ineffective assistance of counsel, a due process violation, and cumulative

error. The Honorable Nitza I. Quiñones Alejandro referred this matter to the undersigned for

preparation of a Report and Recommendation, pursuant to 28 U.S.C. § 636(b)(1)(B). The

Commonwealth has conceded that trial counsel rendered ineffective assistance by stipulating to

evidence that provided a motive for the charged shootings. Hence, habeas relief is warranted on

that claim.

                                         I.       BACKGROUND 1

        On September 3, 2011, Petitioner, who was 17 years old at the time, was together with

Tyler Linder when someone shot at them. Petitioner was seriously injured and required abdominal

surgery; Linder was not injured. Next, on the evening of September 25, 2011, two men rounded a



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          Since the Commonwealth concedes that habeas relief is warranted, the court will only include those facts
necessary to understand the meritorious claim. Most of this background is gleaned from the Commonwealth’s
Response.
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corner and began shooting at the home of Latrice Johnson’s mother. Johnson, her daughter Latoya

Lane, her son Khalief Ladson, and her niece Denean Thomas were injured. The Commonwealth

charged Petitioner and Linder with this shooting. They were tried together.

       The evidence of Petitioner’s guilt was slender. Only one of the four victims was able to

identify him and she admitted that the last time she had seen Petitioner was at least four years

before the shooting. No weapon was ever recovered. Because the Commonwealth had little

evidence pointing to Petitioner, it sought to strengthen its case by maintaining that Ladson was a

suspect in the September 3 shooting that had severely injured Petitioner. This would provide

motive for Petitioner to want to harm Ladson. The Commonwealth had a problem with this theory,

because, at pretrial hearing held two days before trial, the trial court indicated that it would not

allow the Commonwealth to present the evidence. Yet, on the morning of trial, the parties

stipulated that a detective could testify that Ladson was a suspect in the September 3, 2011

shooting. This stipulation provided a motive for Petitioner to participate in the September 25,

2011 shootings.

       At trial, the witness who identified Petitioner, stated that, after the shooting, Petitioner ran

away. This was problematic testimony for the Commonwealth, because Petitioner was recovering

from the September 3 shooting. He still had surgical staples in his stomach, could not walk without

hunching over, was taking narcotic pain medication, and his surgeon testified that it was unlikely

Petitioner would have been able to stand up straight, let alone run, on September 25, 2011.

       After trial, the jury deliberated for two days and announced that they had reached a verdict

as to one defendant but were at an impasse as to the other. The jury delivered the verdict, which

the court did not announce, but sealed it in an envelope. 2 The trial court instructed the jury to



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           The record does not reveal which defendant’s fate the jury resolved first.

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continue deliberating on the other defendant. The next day, the jury announced its verdict: Linder

was not guilty as to all charges and Petitioner was guilty as to all charges. Petitioner was sentenced

to 30-to-60 years of incarceration. He then pursued an unsuccessful direct appeal.

       Next, Petitioner filed a state collateral attack on his conviction, under the Post Conviction

Relief Act (“PCRA”), 42 Pa. Cons. Stat. Ann. §§ 9541-46. At the PCRA evidentiary hearing, trial

counsel was unable to testify; she has since passed away.           However, Petitioner’s surgeon

elaborated on his trial testimony and emphasized that it was virtually impossible for Petitioner to

have run on the night of the crime; had he done so, his incision would have opened and his

intestines would have started coming out. Despite this favorable testimony, the PCRA court

denied relief; Petitioner unsuccessfully appealed.

       On December 21, 2022, Petitioner filed his counseled habeas petition. One of his claims

was that trial counsel rendered ineffective assistance, because she stipulated that Khalief Ladson,

one of the victims, was a person of interest in the September 3, 2011 shooting of Petitioner. As

noted above, this stipulation provided motive for Petitioner to shoot at Ladson, on September 25,

2011. The Commonwealth states that, although this claim is unexhausted and procedurally

defaulted, it expressly waives its exhaustion and procedural default defenses. Resp. at 17-18. It

further concedes that trial counsel’s performance was deficient in making the stipulation in

question and that Petitioner suffered prejudice from trial counsel’s deficient conduct. Id. at 18-28.

This court accepts the Commonwealth’s concessions and recommends that habeas relief be

granted.

                                       II.    DISCUSSION

A.     Standard for Ineffective Assistance

       Federal habeas ineffective assistance of counsel claims are measured against the two-part



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test announced in Strickland v. Washington, 466 U.S. 668 (1984). First, the petitioner must show

that “counsel’s representation fell below an objective standard of reasonableness.” Id. at 688. In

making this determination, the court’s scrutiny of counsel’s performance must be “highly

deferential.” Id. at 689. The court should make every effort to “eliminate the distorting effects of

hindsight, to reconstruct the circumstances of counsel’s challenged conduct, and to evaluate the

conduct from counsel’s perspective at the time.” Id. In short, the “court must indulge a strong

presumption that counsel’s conduct falls within the wide range of reasonable professional

assistance; that is, the [petitioner] must overcome the presumption that, under the circumstances,

the challenged action might be considered sound trial strategy.” Id. (quotation omitted).

        Second, the petitioner must show that counsel’s deficient performance “prejudiced the

defense” by “depriv[ing] the [petitioner] of a fair trial, a trial whose result is reliable.” Id. at 687.

That is, the petitioner must show that “there is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Id. at 694. “A

reasonable probability is a probability sufficient to undermine confidence in the outcome,” id., but

it is less than a preponderance of the evidence. Id. at 693, 694.

        If the petitioner fails to satisfy either prong of the Strickland test, there is no need to

evaluate the other part, as his claim will fail. Id. at 697. Further, counsel will not be found

ineffective for failing to present an unmeritorious claim or objection. Johnson v. Tennis, 549 F.3d

296, 301 (3d Cir. 2008).

B.      Application of the Standard

        1.      Deficient Performance

        At the hearing conducted two days before trial commenced, the trial court signaled that it

would not allow the Commonwealth to present evidence that Ladson was a person of interest in



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the September 3, 2011 shooting, wherein Petitioner was seriously injured. As noted, this was

harmful to the Commonwealth because, without evidence of motive, its case against Petitioner was

weak.       Petitioner and the Commonwealth adequately explain why this evidence was not

admissible, under Pennsylvania evidentiary law. Pet. Mem. of Law at 58-59; Resp. at 21-22.

There are also appears to be no conceivable strategic reason for trial counsel to have stipulated to

a motive for her client. Trial counsel’s failure to apprehend this crucial point of state evidentiary

law and the absence of any strategic reason for entering into the stipulation constitute deficient

performance in violation of the Strickland standard. See Hinton v. Alabama, 571 U.S. 263, 274

(2014) (per curiam) (explaining that an attorney’s ignorance of a point of law that is fundamental

to her case can constitute deficient performance).

        2        Prejudice

        The Commonwealth concedes that trial counsel’s deficient performance prejudiced

Petitioner. This court finds that the Commonwealth’s case was weak, which is relevant to the

prejudice determination, see Strickland, 466 U.S. at 696 (noting that a weak case is more likely to

be affected by attorney error), and evidence that Petitioner had a motive to shoot Ladson was

extremely helpful to the Commonwealth, which is precisely why the prosecutor sought to have it

admitted. Furthermore, the length of time the jury deliberated before returning a verdict, see

Johnson v. Supt. Fayette SCI, 949 F.3d 791, 805 (3d Cir. 2020) (noting that the length of jury

deliberations is a relevant consideration when evaluating the strength of the prosecution’s case),

and the fact it acquitted Linder, for whom there was no motive evidence, indicates that Petitioner

was prejudiced by the stipulation that permitted the jury to find he had a motive. Hence, Petitioner

was denied his Sixth Amendment right to the effective assistance of counsel.

        Accordingly, I make the following:



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                                     RECOMMENDATION
       AND NOW, this 23rd day of October 2023, for the reasons contained in the preceding

Report, it is hereby RECOMMENDED that habeas relief be GRANTED, with respect to

Petitioner’s claim that trial counsel was ineffective for stipulating to evidence that Khalief Ladson

was a person of interest in the September 3, 2011 shooting, which caused Petitioner to be seriously

injured.

       It is further RECOMMENDED that, within 180 days of the order approving and adopting

this Recommendation, the Commonwealth shall retry Petitioner, or release him from custody.

       It be so ORDERED.



                                              __/s/ Carol Sandra Moore Wells___
                                              CAROL SANDRA MOORE WELLS
                                              United State Magistrate Judge




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